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                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,          §
                                             §
              Plaintiffs,                    §
                                             §
V.                                           §
                                             §
                                                       Case No. 5:21-cv-00844-XR
STATE OF TEXAS, et al.,                      §
                                                              [Lead Case]
                                             §
              Defendants.                    §
                                             §
HARRIS COUNTY REPUBLICAN PARTY, et           §
al.,                                         §
                                             §
              Intervenor-Defendants.


                                  [PROPOSED] ORDER

       On this day, the Court considered LUPE Plaintiffs’ Motion for Leave to File Nunc Pro

Tunc LUPE Plaintiffs’ Opposed Motion to Strike the Declaration of Jonathan White and Motion

in Limine to Exclude Testimony About Non-Public Information Relating to Investigations and

Prosecutions of Alleged Voter Fraud. The motion is hereby GRANTED.



       SIGNED AND ENTERED this _____ day of ____________________, 2023.



                                   _______________________________________
                                   HON. Xavier Rodriguez
                                   UNITED STATES DISTRICT JUDGE




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